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Exhibit 3
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Philip and Christine Barnes |
Cove Nest

5 Rocky Ridge Road

Smiths HS 02
Bermuda

April 6, 2009

The Honorable Christopher F. Droney
United States District Court

Abraham Ribicoff Federal Building
450 Main Street, Suite 228

Hartford, CT 06103

USA

Dear Sir,
John B. Houldsworth

We are writing to you to provide a character reference for John B Houldsworth in
connection with the Court’s determination of an appropriate sentence in the upcoming
sentencing hearing.

I am currently employed as Managing Director of the Bermuda office of the Captive
Management unit of Aon, one of the world’s largest insurance brokers and provider of
risk management consulting services. I have been in Bermuda for almost 25 years,
meeting my wife, Christine, soon after arrival. Christine is the General Manager for the
Bermuda Festival of the Performing Arts. We have been. granted Permanent Residency in
Bermuda and having brought up out 2 children on the island, consider it our home.

Both Christine and I met John in our early days in Bermuda while he was working as an
audit senior for KPMG here on the island. In fact, I met John on my first day on the
island as he made contact with me in order to recruit me to the field hockey team he was
playing for at the time. We became instant friends and pur paths continued to cross
through numerous sports as well as through our business connections.

John was, and still is, an extremely accomplished sportsman excelling at hockey, golf and _
squash. The sportsmanship and leadership he showed on the sports field mirrored the way
he conducted himself in both his business and private life. John was both competent and
bard working and when he left Bermuda to move to Dublin, he quickly established
himself in the international reinsurance community. His reputation for his’
professionalism and business acumen is well known and his “glass is half full’ attitude is
a characteristic admired by many. In fact, one of the first comments I heard from a
mutual friend in Dublin following the publishing of the case details, was “that can’t be
right, you won’t find a more conservative underwriter than John”.
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While not knowing all the details of the case involving John and his colleagues at
Cologne Re, Christine and I have seen how he has conducted himself throughout his
ordeal. His guilty plea was surprising to many but throughout the various trials and
hearings, John has remained extremely positive. He was committed to assisting the
government in securing judgments against the persons responsible for the transaction.
This was exactly what we expected John to do considering his unwavering honesty and
integrity. He has had the full backing and support of his devoted wife Ruth and their three
children and the past 3 years or so have been extremely tough on them. John has always
tried to shield them from the publicity and constantly said to me that the health and safety
of his family remain his first priority, another example of his selflessness.

We truly believe that John has become a stronger person because of his experience in this
entire process. His resolve remains firm as he strives to rebuild his life and his
professional career. A lengthy period of incarceration in the US would be devastating to
John and his family. At a time when his children are entering their defining years, both
educationally and emotionally, it is important that their father is part of that period of
their lives. Knowing John, this will be his biggest loss should a prison term be necessary.

Thank you for taking the time to read this letter. On behalf of John and his loving family,
we respectfully request for your leniency in determination of his sentence.

Yours faithfully

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Philip Barnes, A.C.A.

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Christine Barnes

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